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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                 4:16CR3105

      vs.
                                                                ORDER
ALEJANDRO HERAS-REAL,

                  Defendant.


      Defendant has moved to continue the pretrial motion deadline and trial,
(Filing No. 96), because Defendant and defense counsel need additional time to
fully review the discovery received and to consider and decide whether to enter a
guilty plea. The motion to continue is unopposed. Based on the showing set forth
in the motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 96), is granted.

      2)    Pretrial motions and briefs shall be filed on or before June 13, 2017.

      3)    Trial of this case is set to commence before the Honorable John M.
            Gerrard, United States District Judge, in Courtroom 1, United States
            Courthouse, Lincoln, Nebraska, at 9:00 a.m. on July 17, 2017, or as
            soon thereafter as the case may be called, for a duration of five (5)
            trial days. Jury selection will be held at commencement of trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, the time between today’s date and June 13, 2017 shall be
            deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act, because although counsel
            have been duly diligent, additional time is needed to adequately
            prepare this case for trial and failing to grant additional time might
            result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).
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          Failing to timely object to this order as provided under this court’s
          local rules will be deemed a waiver of any right to later claim the time
          should not have been excluded under the Speedy Trial Act.

    April 19, 2017.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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